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                      Exhibit 19
        FILED UNDER SEAL
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                                                                           Page 1
     IN THE UNITED STATES DISTRICT COURT

     FOR THE EASTERN DISTRICT OF LOUISIANA

                    -    -   -

IN RE: XARELTO                MDL NO. 2592
(RIVAROXABAN) PRODUCTS
LITIGATION                    SECTION L

THIS DOCUMENT RELATES         JUDGE ELDON
JOSEPH J. BOUDREAUX           E. FALLON
Case No. 2:14-CV-0270
                              MAG. JUDGE NORTH
                    -    -   -

               December 15, 2016

                    -    -   -

                 - PROTECTED -

    - SUBJECT TO FURTHER PROTECTIVE REVIEW -



            Videotaped deposition of

HENRY MICHAEL RINDER, M.D., held at the law

office of Douglas & London, 59 Maiden Lane,

New York, New York, commencing at 8:12 a.m.,

on the above date, before Marie Foley, a

Registered Merit Reporter, Certified

Realtime Reporter and Notary Public.

                    -    -   -

            GOLKOW TECHNOLOGIES, INC.

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                 Deps@golkow.com




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                                                                               Page 2
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                                                                               Page 3
 1
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23
      ALSO PRESENT:
24
             Henry Marte, videographer

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                                                                           Page 160
 1
      your calculations with respect to
 2
      Neoplastine?
 3
             A.       In my calculations, the
 4
      prothrombin time with the Innovin of 13.6
 5
      corresponded to a prothrombin time between
 6
      21 and 25 with different Neoplastine
 7
      reagents.
 8
             Q.       And have you -- did you write
 9
      those calculations out?
10
             A.       I did not.
11
             Q.       How -- did you make any notes?
12
                      It's not in your report.
13
                      Where can we find your
14
      calculations?
15
             A.       They're -- they're in my head.
16
      I looked at the -- I looked at the data
17
      and I examined the figure and that's where
18
      it looks like those -- again, I said it's
19
      an indirect comparison, but from the
20
      graphs that I looked at, I think that the
21
      prothrombin time would fall in that range
22
      with different Neoplastine reagents.
23
             Q.       And tell us the source of these
24
      graphs.

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                                                                           Page 161
 1
             A.       I believe -- I believe that is
 2
      the Douxfils manuscript.
 3
             Q.       Douxfils, and spell that for us.
 4
             A.       D-O-U-X-F-I-L-S.
 5
             Q.       Okay.     Did you cite that in your
 6
      references for your general report?
 7
             A.       I'm pretty sure it's in my
 8
      general report.
 9
             Q.       And did you use any other
10
      references other than Douxfils?
11
             A.       I thought Douxfils' report had
12
      the most comprehensive data that I could
13
      find for comparing a large number of
14
      prothrombin time reagents for Xarelto.
15
             Q.       My question is did you use any
16
      other reference other than Douxfils to
17
      make this comparison?
18
             A.       I looked at other references,
19
      but that seemed to me to be the best
20
      graphing to be able to make that
21
      comparison.
22
             Q.       Okay.     And did you call the
23
      Terrebonne Hospital to determine what
24
      reagent was used on later tests of Mr.

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                                                                           Page 196
 1
                          C E R T I F I C A T E
 2
      STATE OF NEW YORK
 3
      COUNTY OF NEW YORK
 4

 5
                    I, Marie Foley, RMR, CRR, a
 6
      Certified Realtime Reporter and Notary
 7
      Public within and for the State of New
 8
      York, do hereby certify:
 9
                    That HENRY MICHAEL RINDER, M.D.,
10
      the witness whose deposition is
11
      hereinbefore set forth, was duly sworn by
12
      me and that such deposition is a true
13
      record of the testimony given by the
14
      witness.
15
                    I further certify that I am not
16
      related to any of the parties to this
17
      action by blood or marriage, and that I am
18
      in no way interested in the outcome of
19
      this matter.
20
                    IN WITNESS WHEREOF, I have
21
      hereunto set my hand this 15th day of
22
      December, 2016.
23

                      ___________________________
24
                          MARIE FOLEY, RMR, CRR

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